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Quinn Fulston
354 Doremus Ave.
Newark, NJ 07105

July 6, 2023

Case #: 19-CR-109

NOTICE OF APPEAL

Dear Hon. Judge Hayden,

| would like to submit my notice of appeal on my case. ! would also like to request that | be assigned a
new attorney for my appeal, as my attorney no longer works for the law firm and there are some issues
related to him.

Thank you, Your Honor for you time and kind attention.

Sincerely,
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BACKGROUND

USCS 922(g)(1) states: “/g) It shall be unlawful for any person (1) who has been convicted in any court of a crime
punishable by imprisonment for a term exceeding one year; to ship or transport in interstate or foreign commerce,
or possess in or affecting commerce, any firearm or ammunition, or to receive any firearm or ammunition which
has been shipped or transported in interstate or foreign commerce.” The defendant has a prior conviction for a
crime that is punishable with a sentence exceeding one year and as per the 1961 Federal Firearms Act is charged
with a 922(g)(1). This 1961 law, as applied to the defendant, is violating his constitutional rights under the 2"
Amendment as applied. The defendant asserts that he is one of the people entitled to keep and bear arms as the
required Supreme Court’s “historical tradition” analysis does not support disarming people like him.

LEGAL STANDARD

The defendant 1s bringing forward an as-applied challenge, that while the law has permissible applications it “is
nonetheless unconstitutional as applied’ to him. Spence v. Washington, 418 U.S. 405, 414, 94S. Ct. 2727. 41 L.
Ed 2d 842 (1974); also Street v. New York, 394 U.S. 576, 594, 89 8. Ct. 1354 22 L. Ed 2d 572 (1969)

The 2"! Amendment to the Constitution secures a citizen’s right to keep and bear arms. The 2" Amendment states,
“A well-regulated militia, being necessary to the security of a free state, the right of the people to keep and bear
arms, shall not be infringed.” In District of Colombia v. Heller, 554 U.S. 583-84, 128 S. Ct. 2783, 171 L. Ed 2d
637 (2008) the Supreme Court held that the 2" Amendment guarantees an individual right to keep and bear arms
unconnected with militia service. As the now Supreme Court justice Amy Coney-Barrett wrote in Kanter v. Barr,
919 F.3d 437, 440 (7" Circuit, 2019), Heller defined “the people” protected by the Second Amendment as “al/
Americans” and that “neither felons nor the mentally ill are categorically excluded from our national community.”
United States v. Verdugo-Urqudez, 494 U.S. 259, 265, 110 S. Ct 1056, 108 L. Ed 2d 222 (1990) states that “rhe
people refers to a class of persons who are part of a national community or who have otherwise developed sufficient
connection with the country to be considered part of that community.”

A Harvard Law Review article recently highlighted by RacialJusticeReform.com discusses that the development
of the 2"? Amendment over time was geared around an “extensive history of black people's inability to access guns
during the days of chattel slavery, reconstruction, and Jim Crew.” This incapacity left black people vulnerable to
violence and lynchings from local racist groups including the Klu Klux Klan. 136 Harv. L. Rev. 23, 77 (2022).
Blacks and Latinos who have convictions for non-violent crimes are left in a position where they have no ability to
defend their lives or the lives of their family in often crime infested urban neighborhoods, while their families’ lives
are equally as precious as those of the families of non-felons.

The Supreme Court decided in New York State Rifle & Pistol Ass’n Inc. v. Bruen, 142 8, Ct 2111, 2131 L. Ed 2d
387 (2022) that the laws affected by the 2™ amendment must reflect the nation’s historical tradition of firearm
regulation. A person’s right to bear arms must be evaluated based on the historical tradition at the time of the passage
of the 2"? Amendment in 1791 or at minimum the passage of the 14'" Amendment in 1868.

The 3 Circuit ruled en bane in Range v. AG United States, 2023 U.S. App. LEXIS 13972 (3 Cir, 2023) that Byran
David Range may carry a weapon even though he was convicted of a crime that is punishable by imprisonment for
aterm of more than 1 year. They reasoned that in 1791 common law felonies were very serious offenses, whereas
today felonies include a wide swath of crimes. While the Federal Firearms Act of 1961 restricted those with a
conviction punishable with a sentence exceeding one year, the earlier version of this law, the Federal Firearms Act
of 1938 restricted those with specific violent crimes like murder, rape, kidnapping and burglary [robbery]. Judge
Amy Coney-Barrett stated in Kanter “one fapproach] uses history and tradition to identify the scope of the
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[constitutional] right and the other uses that same body of evidence to identify the scope of the legislature's power
to take it away.” While Bryan Range was only convicted of a food stamp fraud offense, the court came to the holding
that he could carry a weapon specifically based on the Bruen standard that defendants charged with 922(g)(1) must
meet the historical standard, which he did not.

Hon. Judge Carlton Reeves, the current Chairman of the United States Sentencing Commission, recently ruled on
United States v. Bullock, 2023 U.S. Dist. LEXIS 112397 (SD Miss, June 28, 2023). Jessie Bullock had a previous
conviction from when he got in a bar fight and was convicted of aggravated assault and manslaughter, whereby he
served about 15 years in state prison. Judge Reeves finds that the term “/aw abiding responsible citizen” is hopelessly
vague, quoting the 3 Circuit in Range, that “she phrase law abiding responsible citizen is as expansive as it is
vague.” “Does it include those who have committed summary offenses or petty misdemeanors, which typically result
ina ticket and a small fine?” ... “As for responsible, it serves only to undermine the Government's argument because
it renders the category hopelessly vague. In our Republic of over 330 million people, Americans have widely
divergent ideas about what is required for one to be considered a responsible citizen.” United States v. Rahimi, 61
F.4 443(5" Cir, 2023) further contemplates this and asks “could speeders be stripped of their right to keep and bear
arms? Political nonconformists? People who do not recycle or drive an electric vehicle?”

Judge Reeve’s historical evaluation reveals that there is no clear and straightforward definition of what a restricted
felon was in 1791. Founding father James Madison “complained that the common law definition of a felony was
vague.” Traditional common law felonies were murder, manslaughter, arson, burglary, robbery, rape, sodomy,
mayhem and larceny, yet most of those with these charges were allowed to bear arms in 1791. Historical analysis
shows that some states in 1791 eliminated “those in actual rebellion” or “dangerous persons” or included only
“peaceable citizens” or “virtuous citizens”. The historical analysis shows that “the parameters were unclear at the
time of Constitution.” In 2011, the US Department of Justice formally advanced the position that early American
history did not support felon disarmament. See brief of appellee, United States v. Staten, No. 10-5318, 2011 WL
1542053 (4"" Cir, 2011). Historians also show that persons could have their firearm rights restored “once they no
longer posed a violent threat.” Mr. Bullock had completed his incarceration. As to Mr. Bullock’s prior conviction,
as discussed in Rahimi, he was properly charged, disarmed, “detained, prosecuted and incarcerated and that’s what
the criminal justice system is for.” The court ruled that the 922(g)(1) charge against Bullock should be dismissed.

DISCUSSION

The defendant is currently charged with a 922(g)(1). This charge is based upon defendant’s prior conviction for a
crime that is punishable by a term that exceeds on year. While this is true, none of the defendant’s crime meets the
historical standards as required in Bruen and Range and even less so the vague historical analysis discussed in
Bullock. Even the 1938 Federal Firearms Act, which only restricted firearms for those with violent crimes, was
passed 147 years after the passage of the 2"4 amendment and therefore even cannot qualify as upholding the 2"*
amendment or of being an accurate historical evaluation of the type of felon that could have been restricted in 1791.

CONCLUSION

Accordingly, the defendant’s charge under 922(g)(1) should be dismissed with prejudice.

Signed: x

Print Name:

Date:

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Newark, NJ 07105

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